                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


    MAXWELL KADEL, et al.,

                               Plaintiffs,

                               v.                      No. 1:19-cv-00272-LCB-LPA

    DALE FOLWELL, et al.,

                               Defendants.



                      PLAINTIFFS’ PRE-TRIAL DISCLOSURES
                      PURSUANT TO FED. R. CIV. P. 26(a)(3)(A)

        Pursuant to Rule 26(a)(3)(A) of the Federal Rules of Civil Procedure, Plaintiffs, by

and through undersigned counsel, hereby submit the following pre-trial disclosures.

           1. Pursuant to Rule 26(a)(3)(A)(i) of the Federal Rules of Civil Procedure,

Plaintiffs identify the following witnesses that Plaintiffs expect to call to testify at trial:1

                  a. Maxwell Kadel

                  b. Jason Fleck

                  c. Connor Thonen-Fleck

                  d. Julia McKeown

                  e. Michael D. Bunting, Jr.



1
  The addresses and phone number of each witness has been previously disclosed to Defendants’
counsel. If necessary, Plaintiffs’ counsel can provide Defendants’ counsel with the information
for any proposed witness upon request.




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                  f. C.B.

                  g. Sam Silvaine

                  h. Dana Caraway

                  i. Dr. George R. Brown

                  j. Dr. Loren Schechter

                  k. Dr. Dan Karasic

                  l. Dr. Randi Ettner

                  m. Dr. Johanna Olson-Kennedy

           2. Pursuant to Rule 26(a)(3)(A)(i) of the Federal Rules of Civil Procedure,

Plaintiffs identify the names of each witness that Plaintiff may call to testify at trial, if the

need arises:

                  a. Shelley K. Bunting

                  b. Mona Moon

                  c. Lotta Crabtree

                  d. Janet Cowell

                  e. Kim Hutton

                  f. Any and all witnesses identified by Defendants

                  g. Records custodians of Plaintiffs’ treating providers

                  h. Any witness necessary for rebuttal




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           3. Pursuant to Rule 26(a)(3)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiffs expect to present by deposition, a transcript of the pertinent parts of the

deposition of the following witnesses:

                   a. Dale Folwell

                   b. Dr. Peter Robie

                   c. Dee Jones

                   d. NCSHP Rule 30(b)(6) Witness

                   e. NC DPS Rule 30(b)(6) Witness

                   f. Kim Hutton taken on December 5, 2017 in Adams ex rel. Kasper v.

                       Sch. Bd. of St. Johns Cty., 318 F. Supp. 3d 1293 (M.D. Fla. 2018).

           4. Pursuant to Rule 26(a)(3)(A)(iii) of the Federal Rules of Civil Procedure,

Plaintiffs identify the following documents that may be offered as exhibits at trial:2

                   a. Medical records of Maxwell Kadel produced in discovery.

                   b. Medical records of Connor Thonen-Fleck produced in discovery.

                   c. Medical records of Julia McKeown produced in discovery.

                   d. Medical records of C.B. produced in discovery.

                   e. Medical records of Sam Silvaine produced in discovery.



2
 As this Court is aware, the parties filed cross-motions for summary judgment [ECF Nos. 132,
136 and 178] and Plaintiffs filed Daubert motions related to Defendants’ experts, Drs. Hruz
[ECF No. 204], Levine [ECF No. 212], McHugh [ECF No. 206], Lappert [ECF No. 208], and
Robie [ECF No. 202]. Plaintiffs expect that the resolution of these motions will likely narrow
and/or clarify the issues for trial, assuming a trial is necessary. As a result, Plaintiffs expect to
submit a revised exhibit list to reflect the remaining issues to be resolved at trial.




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          f. Medical records of Dana Caraway produced in discovery.

          g. Documentation produced in discovery regarding the operation of the

             Exclusion by Defendants, including but not limited to:

                 i. Benefits Booklets;

                ii. Board of Trustees materials; and

               iii. Communications regarding the Exclusion.

          h. Documentation produced in discovery regarding the operation of the

             Exclusion by Defendants’ third-party administrators Blue Cross Blue

             Shield and CVS, including but not limited to:

                 i. Plan documents;

                ii. Corporate medical policies; and

               iii. Communications regarding denials and appeals.

          i. Documentation supporting Maxwell Kadel’s claim for damages

             produced in discovery, including but not limited to:

                 i. Receipts for medical expenses incurred out-of-pocket;

                ii. Bills / invoices for medical expenses incurred out-of-pocket;

               iii. Estimates for future medical expenses;

               iv. Communications between Plaintiffs and Defendants regarding

                   the Exclusion and costs incurred related to the Exclusion.




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          j. Documentation supporting Jason Fleck’s and Connor Thonen-

             Fleck’s claim for damages produced in discovery, including but not

             limited to:

                   i. Receipts for medical expenses incurred out-of-pocket;

                   ii. Bills / invoices for medical expenses incurred out-of-pocket;

               iii. Estimates for future medical expenses;

               iv. Communications between Plaintiffs and Defendants regarding

                      the Exclusion and costs incurred related to the Exclusion.

          k. Documentation supporting Julia McKeown’s claim for damages

             produced in discovery, including but not limited to:

                   i. Receipts for medical expenses incurred out-of-pocket;

                   ii. Bills / invoices for medical expenses incurred out-of-pocket;

               iii. Estimates for future medical expenses;

               iv. Communications between Plaintiffs and Defendants regarding

                      the Exclusion and costs incurred related to the Exclusion.

          l. Documentation supporting Michael D. Bunting, Jr.’s and C.B.’s

             claim for damages produced in discovery, including but not limited

             to:

                   i. Receipts for medical expenses incurred out-of-pocket;

                   ii. Bills / invoices for medical expenses incurred out-of-pocket;

               iii. Estimates for future medical expenses;




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               iv. Communications between Plaintiffs and Defendants regarding

                    the Exclusion and costs incurred related to the Exclusion.

          m. Documentation supporting Sam Silvaine’s claim for damages

             produced in discovery, including but not limited to:

                 i. Receipts for medical expenses incurred out-of-pocket;

                ii. Bills / invoices for medical expenses incurred out-of-pocket;

               iii. Estimates for future medical expenses;

               iv. Communications between Plaintiffs and Defendants regarding

                    the Exclusion and costs incurred related to the Exclusion.

          n. Documentation supporting Dana Caraway’s claim for damages

             produced in discovery, including but not limited to:

                 i. Receipts for medical expenses incurred out-of-pocket;

                ii. Bills / invoices for medical expenses incurred out-of-pocket;

               iii. Estimates for future medical expenses;

               iv. Communications between Plaintiffs and Defendants regarding

                    the Exclusion and costs incurred related to the Exclusion.

          o. Dr. George R. Brown’s expert witness designation, report,

             curriculum vitae, accompanying documents, and reliance materials

             disclosed by Plaintiffs.




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          p. Dr. Loren Schechter’s expert witness designation, report, curriculum

             vitae, accompanying documents, and reliance materials disclosed by

             Plaintiffs.

          q. Dr. Dan Karasic’s expert witness designation, report, curriculum

             vitae, accompanying documents, and reliance materials disclosed by

             Plaintiffs.

          r. Dr. Randi Ettner’s expert witness designation, report, curriculum

             vitae, accompanying documents, and reliance materials disclosed by

             Plaintiffs.

          s. Dr. Johanna Olson-Kennedy’s expert witness designation, report,

             curriculum vitae, accompanying documents, and reliance materials

             disclosed by Plaintiffs.

          t. Exhibits identified and marked at Plaintiffs’ depositions.

          u. Exhibits identified and marked at the deposition of Dale Folwell.

          v. Exhibits identified and marked at the deposition of Dr. Peter Robie.

          w. Exhibits identified and marked at the deposition of NCSHP Rule

             30(b)(6) witness.

          x. Exhibits identified and marked at the deposition of NC DPS Rule

             30(b)(6) witness.




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                y. Exhibits identified and marked at the deposition of Kim Hutton

                      taken on December 5, 2017 in Adams ex rel. Kasper v. Sch. Bd. of

                      St. Johns Cty., 318 F. Supp. 3d 1293 (M.D. Fla. 2018).

                z. Contemporaneous notes taken by Ms. Kim Hutton related to her

                      conversation with Dr. Paul Hruz.

                aa. Defendants’ Answers to Interrogatories and Requests to Admit.

                bb. All discovery exchanged in this matter, including any documents

                      produced by third parties.

                cc. Any exhibit listed in Defendants’ Pre-Trial Disclosure.

                dd. Any document necessary for impeachment.

Dated: June 3, 2022                                Respectfully submitted,
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                            CERTIFICATE OF SERVICE
       I certify that the foregoing document was filed electronically with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all

registered users.

Dated: June 3, 2022                       /s/ Amy Richardson
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